SO ORDERED.

DONE and SIGNED January 7, 2019.




                                             ________________________________________
                                             JOHN S. HODGE
                                             UNITED STATES BANKRUPTCY JUDGE
         ____________________________________________________________




                         UNITED STATES BANKRUPTCY COURT
                          WESTERN DISTRICT OF LOUISIANA
                               SHREVEPORT DIVISION

IN RE:

Donna L. Vinson                                         CASE NO. 18-11236
      aka Donna Lynn Vinson
Jeannie S. Edwards
      aka Jeannie Sue Edwards,
                   DEBTOR                               CHAPTER 7

                                              ORDER

       Upon consideration of the Motion for Relief from Automatic Stay filed by Nationstar

Mortgage Services d/b/a Mr. Cooper (P-36), a hearing having been reserved for January 9, 2019

at 10:00 a.m., and proper notice having been given, no response having been filed, and the court

being of the opinion that the requested relief is justified and warranted;

       IT IS ORDERED that the automatic stay afforded by 11 U.S.C. § 362 be and it is hereby

modified, annulled and lifted to permit Nationstar Mortgage Services d/b/a Mr. Cooper, or its




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successors or assigns, to judicially enforce its claim and to foreclose on its security interest or

otherwise exercise its security interest in the property bearing the following legal description:

        LOT 166, BROOKWOOD, UNIT NO. 3, A SUBDIVISION OF THE CITY OF
        SHREVEPORT, CADDO PARISH, LOUISIANA, AS PER PLAT THEREOF
        RECORDED IN CONVEYANCE BOOK 650, PAGE 631, OF THE OFFICIAL
        RECORDS OF CADDO PARISH, LOUISIANA, TOGETHER WITH ALL
        BUILDINGS AND IMPROVEMENTS LOCATED THEREON.

        Which has the address of 8916 Acacia Lane, Shreveport, LA 71118.

        IT IS FURTHER ORDERED that this Order lifting the automatic stay shall remain in full

force and effect if the Debtor should convert this case to any other Chapter of the Bankruptcy

Code.

                                                ###


Respectfully submitted,

SHAPIRO & DAIGREPONT, L.L.C.

BY:     /s/Remy F. Symons
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        3510 N. Causeway Blvd., Suite 600
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